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 1   MICHAEL BAILEY
     United States Attorney
 2   District of Arizona
 3   KEVIN M. RAPP (Ariz. Bar No. 014249, kevin.rapp@usdoj.gov)
     MARGARET PERLMETER (Ariz. Bar No. 024805, margaret.perlmeter@usdoj.gov)
 4   PETER S. KOZINETS (Ariz. Bar No. 019856, peter.kozinets@usdoj.gov)
     ANDREW C. STONE (Ariz. Bar No. 026543, andrew.stone@usdoj.gov)
 5   JOHN J. KUCERA (Cal. Bar No. 274184, john.kucera@usdoj.gov)
     Assistant U.S. Attorneys
 6   40 N. Central Avenue, Suite 1800
     Phoenix, Arizona 85004-4408
 7   Telephone (602) 514-7500
 8   BRIAN BENCZKOWSKI
     Assistant Attorney General
 9   Criminal Division, U.S. Department of Justice
10   REGINALD E. JONES (Miss. Bar No. 102806, reginald.jones4@usdoj.gov)
     Senior Trial Attorney, U.S. Department of Justice
11   Child Exploitation and Obscenity Section
     950 Pennsylvania Ave N.W., Room 2116
12   Washington, D.C. 20530
     Telephone (202) 616-2807
13   Attorneys for Plaintiff
14
                          IN THE UNITED STATES DISTRICT COURT
15
                                FOR THE DISTRICT OF ARIZONA
16
17   United States of America,                                No. CR-18-422-PHX-SMB
18                          Plaintiff,                  UNITED STATES’ NOTICE OF
                                                        INTENT TO OFFER BUSINESS
19             v.                                     RECORDS PURSUANT TO FEDERAL
                                                         RULE OF EVIDENCE 902(11)
20
     Michael Lacey, et al.,
21
                            Defendants.
22
23          Pursuant to Federal Rule of Evidence 902(11), the United States notices its intent to
24   use written certifications of business records in lieu of live testimony by record custodians
25   at trial. Attached as Exhibit A is a table that contains a list of certifications identified by
26   subpoena number, financial institution, Bates number, and BEGDOC, which is used to
27   locate the document in Relativity. These financial institution certifications have all been
28   previously disclosed to Defendants.         In the interest of efficiency, the identified
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 1   certifications will be used in lieu of live testimony.
 2          These certifications will also serve as the basis for a proposed stipulation to the
 3   admission of the certified bank records or a motion for a pretrial ruling by this Court
 4   pursuant to Federal Rule of Evidence 104(a), (b).
 5          Respectfully submitted this 14th day of February, 2020.
 6                                               MICHAEL BAILEY
                                                 United States Attorney
 7                                               District of Arizona
 8                                               s/ Andrew C. Stone_____
                                                 KEVIN M. RAPP
 9                                               MARGARET PERLMETER
                                                 PETER S. KOZINETS
10                                               ANDREW C. STONE
                                                 Assistant U.S. Attorneys
11
                                                 JOHN J. KUCERA
12                                               Special Assistant U.S. Attorney
13                                               BRIAN BENCZKOWSKI
14                                               Assistant Attorney General
                                                 U.S. Department of Justice
15                                               Criminal Division, U.S. Department of Justice

16                                               REGINALD E. JONES
                                                 Senior Trial Attorney
17                                               U.S. Department of Justice, Criminal Division
                                                 Child Exploitation and Obscenity Section
18
19                                 CERTIFICATE OF SERVICE
20          I hereby certify that on February 14, 2020, I electronically transmitted the attached
21   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
22   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
23   as counsel of record.
24
     s/ Andrew C. Stone
25   U.S. Attorney’s Office

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